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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION



BEBA LLC and
DEFI EDUCATION FUND,

                              Plaintiffs,

                    v.
                                                Case No. 6:24-cv-00153-ADA-DTG
SECURITIES AND EXCHANGE COMMISSION;
and GARY GENSLER, Commissioner of the
Securities and Exchange Commission, in
his official capacity,

                              Defendants.



             UNOPPOSED MOTION FOR LEAVE TO FILE
  ANDREESSEN HOROWITZ, MULTICOIN CAPITAL, PARADIGM, UNION
       SQUARE VENTURES AND VARIANT’S AMICUS CURIAE BRIEF
  IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION
                           TO DISMISS

               Pursuant to Local Rule CV-7, potential Amici Andreessen Horowitz,

Multicoin Capital, Paradigm, Union Square Ventures and Variant respectfully request

leave to file the attached brief in support of the opposition filed by Plaintiffs Beba LLC

and the DeFi Education Fund (“Plaintiffs”) to the Defendants’ motion to dismiss. The

proposed brief is attached as Exhibit A. All parties have consented to the filing of this

brief.

               Leave to file an amicus brief is appropriate where “issues in the case have

potential consequences beyond the particular parties to the suit,” and where “the amici

offer useful, broader perspectives on these issues.” Cent. Texas Chapter, Nat’l Elec.

Contractors Ass’n, Inc. v. Int’l Bhd. of Elec. Workers Loc. Union No. 520, No. A-11-CA-
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339-SS, 2011 WL 13234892, at *2 (W.D. Tex. Nov. 15, 2011). Amici here are venture

capital and investment firms that focus on investing in technological innovation across

various sectors such as biotechnology, healthcare and fintech. Amici seek to build

investment portfolios that include innovative companies utilizing blockchain technology.

Amici’s longstanding participation in the blockchain-based digital asset ecosystem

underpins their strong interest in the law relating to digital assets—and, in particular, in

clear rules and regulations governing the businesses in which they invest.

               Amici have an interest in obtaining clarity concerning the jurisdiction of

the Defendants to regulate “airdrops” of digital assets—which are a common means of

distributing digital assets that serve to both develop decentralized blockchain networks

and promote and market businesses. The looming threat of enforcement by the

Defendants has adverse implications for the businesses in which Amici invest and

impedes technological innovation of decentralized digital asset platforms in the United

States. This brief presents compelling arguments that Beba faces a credible threat of

enforcement by the Defendants, and thus that this case is ripe for adjudication and that

such review would bring needed clarity for the digital asset industry.

               Amici respectfully request leave to participate in this matter pursuant to the

Court’s inherent authority. Amici simultaneously submit their proposed brief, which is

attached as Exhibit A to this motion.



Dated: October 28, 2024                        Respectfully submitted,

                                               /s/ Gilbert A. Greene
                                               Gilbert A. Greene
                                               BGreene@duanemorris.com
                                               DUANE MORRIS LLP
                                               Terrace 7
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                                               2801 Via Fortuna, Suite 200
                                               Austin, TX 78746-7567
                                               Telephone: (512) 277-2246
                                               Facsimile: (512) 597-0703

                                               Benjamin Gruenstein (pro hac vice pending)
                                               bgruenstein@cravath.com
                                               Callum Sproule (pro hac vice pending)
                                               csproule@cravath.com
                                               Yunhao Liu (pro hac vice pending)
                                               lliu@cravath.com
                                               CRAVATH, SWAINE & MOORE LLP
                                               Two Manhattan West
                                               375 Ninth Ave
                                               New York, NY 10001
                                               Telephone: (212) 474.1000

                                               COUNSEL FOR AMICI CURIAE



                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1(D)(1), the undersigned hereby declares that he has

conferred with counsel for both Plaintiff and Defendants. This motion is unopposed, and

Plaintiffs have consented to the filing of this amicus curiae brief.

                                                      /s/ Gilbert A. Greene
                                                      Gilbert A. Greene




                              CERTIFICATE OF SERVICE

       I hereby certify that on October 28, 2024, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will send notification of such filing

to all counsel of record.

                                                      /s/ Gilbert A. Greene
                                                      Gilbert A. Greene
